      Case 6:23-bk-14028-SY                       Doc     Filed 05/24/24 Entered 05/24/24 09:51:09                             Desc Main
 Fill in this information to identify the case:          Document     Page 1 of 10
 Debtor 1              Maximo Arturo Arriola
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Central District       of __________
                                                          of California
                                                       District

 Case number            6:23-bk-14028-SY
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   Lakeview Loan Servicing, LLC
 Name of creditor: _______________________________________                                                        4
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           5 ____
                                                         ____ 0 ____
                                                                  5 ____
                                                                      5              Must be at least 21 days after date       07/01/2024
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                              2,199.26
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
      
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   New  Escrow Payment includes: Escrow ($604.51) and Shortage ($7.70)
                   __________________________________________________________________________________________________

                                                    603.23
                   Current escrow payment: $ _______________                       New escrow payment:                   612.21
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔ No
      
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔ No
      
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                             page 1
    Case 6:23-bk-14028-SY                               Doc        Filed 05/24/24 Entered 05/24/24 09:51:09                           Desc Main
                                                                  Document     Page 2 of 10

Debtor 1         Maximo     Arturo Arriola
                 _______________________________________________________                                           6:23-bk-14028-SY
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
     ✔ I am the creditor’s authorized agent.
     


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8/s/ Nichole L. Glowin
     _____________________________________________________________
     Signature
                                                                                               Date    05/24/2024
                                                                                                       ___________________




 Print:             Nichole L. Glowin
                    _________________________________________________________                  Title   Attorney  for Creditor
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            ZBS Law, LLP
                    _________________________________________________________



 Address            30 Corporate Park, Suite 450
                    _________________________________________________________
                    Number                 Street

                    Irvine                           CA      92606
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      (714) 848-7920
                    ________________________                                                   Email bankruptcy@zbslaw.com
                                                                                                     ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
                                                                Representation of Printed Document
Case 6:23-bk-14028-SY                                Doc          Filed 05/24/24 Entered 05/24/24 09:51:09                                                        Desc Main
                                                                 Document       ANNUAL
                                                                              Page       ESCROW ACCOUNT
                                                                                   3 of 10
                                                                                                   DISCLOSURE STATEMENT
    P.O. Box 8068 | Virginia Beach, VA 23450 | 1.800.509.0183




             7-754-05150-0000049-001-000-001-000-000                                                            Statement Date:                           04/15/24

             MAXIMO ARRIOLA
             C/O BENJAMIN HESTON
             NEXUS BANKRUPTCY
             100 BAYVIEW CIR STE 100
             NEWPORT BEACH CA 92660-2963




            Annual Escrow Account Disclosure Statement                                             Contact Us

            Loan Number:                                                 0027695055                Customer Service/Pay-by-Phone
            Property Address:                                      4199 9TH STREET                 1.800.509.0183*
                                                                RIVERSIDE CA 92501                 *Calls are randomly monitored and recorded to ensure quality service.
            Review Period:                                         10/2023 to 06/2024
                                                                                                   Hours
            Escrow Shortage:                                                $-92.35                Monday - Friday: 8 A.M. to 9 P.M. ET
                                                                                                   Saturday: 8 A.M. to 3 P.M. ET

            Current Mortgage Payment                                                               Website:
                                                                                                   https://lakeviewloanservicing.myloancare.com
            Principal and/or Interest:                                     $1,587.05
            Escrow (Taxes and/or Insurance):                                 $586.88

            Total Monthly Payment:                                        $2,173.93               Autodraft Customers: If your mortgage payment amount
                                                                                                  has changed, we'll adjust your payment for you.

            New Mortgage Payment                                                                  Online Bill Payment Customers: If your mortgage
                                                                                                  payment amount has changed, you will need to contact
            Principal and/or Interest:                                     $1,587.05              your financial services provider to adjust your payment.
            Escrow (Taxes and/or Insurance):                                 $604.51
            Prorated Shortage:                                                 $7.70

            Total New Monthly Payment                                     $2,199.26
            Effective Due Date:                                         07/01/2024


            Account History
            The following statement of activity in your escrow account from 10/2023 through 06/2024 displays actual activity as it occurred in your escrow account
            during that period. If your loan was transferred by another mortgage servicer, the prior projection information may not be included below.
            Month          Activity                                       Projected Amount   Actual Amount         Projected Escrow Balance        Actual Escrow Balance
                           Starting Balance                                                                                        $3,287.68                  $-23,515.71
            October        Deposit                                                $603.23             $0.00*                       $3,890.91                  $-23,515.71
            October        MIP/PMI Disbursement                                   $192.27             $0.00*                       $3,698.64                  $-23,515.71
            October        MIP/PMI Disbursement                                      $0.00         $192.27*                        $3,698.64                  $-23,707.98
            November       Deposit                                                $603.23             $0.00*                       $4,301.87                  $-23,707.98
            November       MIP/PMI Disbursement                                    $192.27            $0.00*                       $4,109.60                  $-23,707.98
            November       County Tax Disbursement                               $1,972.76        $2,009.66*                       $2,136.84                  $-25,717.64
            November       MIP/PMI Disbursement                                      $0.00          $192.27*                       $2,136.84                  $-25,909.91
            December       Deposit                                                $603.23             $0.00*                       $2,740.07                  $-25,909.91
            December       MIP/PMI Disbursement                                    $192.27            $0.00*                       $2,547.80                  $-25,909.91
            December       MIP/PMI Disbursement                                      $0.00          $192.27*                       $2,547.80                  $-26,102.18
            January        Deposit                                                 $603.23            $0.00*                       $3,151.03                  $-26,102.18
            January        MIP/PMI Disbursement                                    $192.27            $0.00*                       $2,958.76                  $-26,102.18
            January        MIP/PMI Disbursement                                      $0.00          $192.27*                       $2,958.76                  $-26,294.45
            February       Deposit                                                 $603.23            $0.00*                       $3,561.99                  $-26,294.45
            February       MIP/PMI Disbursement                                   $192.27             $0.00*                       $3,369.72                  $-26,294.45
            February       MIP/PMI Disbursement                                      $0.00          $192.27*                       $3,369.72                  $-26,486.72
            March          Deposit                                                $603.23         $1,173.76*                       $3,972.95                  $-25,312.96
            March          MIP/PMI Disbursement                                    $192.27            $0.00*                       $3,780.68                  $-25,312.96
            March          County Tax Disbursement                               $1,972.76        $2,009.66*                       $1,807.92                  $-27,322.62



      See reverse side for additional important information.

          MAXIMO ARRIOLA
          C/O BENJAMIN HESTON
          NEXUS BANKRUPTCY                                                                                             Loan Number: 0027695055
          100 BAYVIEW CIR STE 100                                                                                                          New Monthly Payment Effective
                                                                                                         Shortage Amount
          NEWPORT BEACH CA 92660-2963                                                                                                      07/01/2024

                                                                                                         $-92.35                           $2,199.26




                                                                                                    Your shortage is $-92.35 and will be spread over a 12-month period.




                                                                9073623002769505524183000923500000009

                                                                               Internet Reprint
Case 6:23-bk-14028-SY                         Doc         Filed 05/24/24 Entered 05/24/24 09:51:09 Desc Main
       Account History
       Month          Activity
                                                         Document             Page 4 of 10
                                                              Projected Amount Actual Amount Projected Escrow Balance Actual Escrow Balance
       March          Hazard Insurance Disbursement                              $986.00                $0.00*                          $821.92                     $-27,322.62
       March          MIP/PMI Disbursement                                         $0.00              $192.27*                          $821.92                     $-27,514.89
       April          Deposit                                                    $603.23          $27,545.69* E                        $1,425.15                          $30.80
       April          MIP/PMI Disbursement                                      $192.27               $192.27 E                        $1,232.88                        $-161.47
       April          Hazard Insurance Disbursement                                $0.00              $984.00*                         $1,232.88                      $-1,145.47
       May            Deposit                                                    $603.23              $603.23 E                        $1,836.11                        $-542.24
       May            MIP/PMI Disbursement                                      $192.27               $187.57* E                       $1,643.84                        $-729.81
       June           Deposit                                                    $603.23              $603.23   E                      $2,247.07                        $-126.58
       June           MIP/PMI Disbursement                                       $192.27              $187.57* E                       $2,054.80                        $-314.15
                      Total Deposits                                           $5,429.07          $29,925.91
                      Total Disbursements                                      $6,661.95            $6,724.35
                      Account Balance as of 06/30/2024                                                                                                                  $-314.15
       An asterisk (*) appearing next to the amount indicates a difference from projected activity either in the amount or the date. The letter “E” next to an amount indicates
       that the payment or disbursement has not yet occurred, but is estimated to occur on the date shown.


       Last year we anticipated that Disbursements would be made from your Escrow Account during the period equaling $7,238.76. Your lowest monthly
       escrow balance should not have exceeded $821.92, which is either 1/6 (also equal to no more than two months) of the total projected payments from
       the account as required by federal law or the reasonable amount required by state law or the amount required by your mortgage contract. Your actual
       lowest monthly balance was $-27,514.89. The items with an asterisk on your Account History may explain this. For further explanation, call our toll-free
       number shown under the Contact Us section on this statement.


       Total Anticipated Annual Disbursement
       We anticipate paying the escrow items listed below on your behalf in the upcoming 12-month period. The dollar amount shown may be the last amount
       paid for that item, or we may project the amount due as defined by federal law.
       Tax                                                                                    Insurance
       Item                                      Annual Expense       Anticipated Date(s)     Item                                     Annual Expense Anticipated Date(s)
                                                                      of Payment                                                                       of Payment
       County Tax Disbursement                           $2,009.66    November 2024           MIP/PMI Disbursement                             $187.57 July 2024
       County Tax Disbursement                           $2,009.66    March 2025              MIP/PMI Disbursement                             $187.57 August 2024
                                                                                              MIP/PMI Disbursement                             $187.57 September 2024
                                                                                              MIP/PMI Disbursement                             $187.57 October 2024
                                                                                              MIP/PMI Disbursement                             $187.57 November 2024
                                                                                              MIP/PMI Disbursement                             $187.57 December 2024
                                                                                              MIP/PMI Disbursement                             $187.57 January 2025
                                                                                              MIP/PMI Disbursement                             $187.57 February 2025
                                                                                              MIP/PMI Disbursement                             $187.57 March 2025
                                                                                              Hazard Insurance Disbursement                    $984.00 March 2025
                                                                                              MIP/PMI Disbursement                             $187.57 April 2025
                                                                                              MIP/PMI Disbursement                             $187.57 May 2025
                                                                                              MIP/PMI Disbursement                             $187.57 June 2025
       Total Anticipated Annual Disbursement = $7,254.16


       Account Projections
       The following information covers your projected escrow account activity from 07/2024 to 06/2025. All payments we anticipate receiving as well as
       disbursements we anticipate making on your behalf are included, along with the Projected Escrow Account Balance, derived by carrying forward your
       current actual escrow balance. The required Escrow Account Balance displays the amount actually required to be on hand as specified by federal law,
       state law, or your mortgage documents, and may include a cushion of up to one-sixth of your annual disbursements. Please retain this statement for
       comparison with the actual activity in your account at the end of the next escrow analysis cycle.
       Month                  Projected             Disbursements                                                                 Projected Escrow        Required Escrow
                              Payments
                              Projected             Projected             Description                                             Account Balance         Account Balance
                                                                          Beginning Balance                                                  $-314.15               $2,084.75
       July                               $604.51              $187.57    MIP/PMI Disbursement                                                $102.79               $2,501.69
       August                             $604.51              $187.57    MIP/PMI Disbursement                                                $519.73               $2,918.63
       September                          $604.51              $187.57    MIP/PMI Disbursement                                                $936.67               $3,335.57
       October                            $604.51             $187.57     MIP/PMI Disbursement                                              $1,353.61               $3,752.51
       November                           $604.51              $187.57    MIP/PMI Disbursement                                              $1,770.55               $4,169.45
       November                                              $2,009.66    County Tax Disbursement                                            $-239.11               $2,159.79
       December                           $604.51              $187.57    MIP/PMI Disbursement                                                $177.83               $2,576.73
       January                            $604.51              $187.57    MIP/PMI Disbursement                                                $594.77               $2,993.67
       February                           $604.51              $187.57    MIP/PMI Disbursement                                              $1,011.71               $3,410.61
       March                              $604.51             $187.57     MIP/PMI Disbursement                                              $1,428.65               $3,827.55
       March                                                 $2,009.66    County Tax Disbursement                                            $-581.01               $1,817.89
       March                                                  $984.00     Hazard Insurance Disbursement                                    $-1,565.01                 $833.89
       April                              $604.51              $187.57    MIP/PMI Disbursement                                             $-1,148.07               $1,250.83
       May                                $604.51              $187.57    MIP/PMI Disbursement                                               $-731.13               $1,667.77
       June                               $604.51              $187.57    MIP/PMI Disbursement                                               $-314.19               $2,084.71
                                                                Representation of Printed Document                                      7-754-05150-0000049-001-000-001-000-000

Case 6:23-bk-14028-SY                                Doc          Filed 05/24/24 Entered 05/24/24 09:51:09                                                                    Desc Main
                                                                 Document       ANNUAL
                                                                              Page       ESCROW ACCOUNT
                                                                                   5 of 10
                                                                                                          DISCLOSURE STATEMENT
    P.O. Box 8068 | Virginia Beach, VA 23450 | 1.800.509.0183




         Your Projected Escrow Account Balance as of 06/30/24 is $-314.15, which means you have a deficiency of $314.15. Your Required Beginning Escrow
         Balance according to this analysis should be $2,084.75. This means you have a shortage of $-92.35. Per federal law, the shortage may be collected
         from you over 12 months or more unless it is less than 1 month's deposit, in which case we have the additional option of requesting payment within 30
         days. We will collect the shortage, including any deficiency, over 12 months. Once during this period, your Required Escrow Account Balance
         should be reduced to $833.89, as shown in March. This amount represents the cushion selected as allowed by your mortgage contract, federal and
         state law.


         Balance Your Escrow Account
         Each year your account is reviewed to make sure there is enough money to pay your property taxes and/or insurance. Federal law allows us to require
         a minimum balance in your account. This cash reserve helps to cover any increase in taxes and/or insurance. Subject to state law limits, your
         minimum balance normally equals the amount of your escrow payments for about two months. The payments made to and from your escrow account
         last year help predict your account activity for next year. Last year’s activity also helps predict what your lowest account balance is likely to be. To
         balance your escrow account, we compare what your lowest account balance will likely be next year with your minimum required balance. The
         difference between those two numbers tells us if you need to deposit additional funds or if we will provide a refund.



                     $833.89     Your minimum required balance
                   $-1,565.01    Your projected lowest account balance for March
                      $-92.35    Your escrow account surplus/shortage


         LoanCare is a debt collector. This is an attempt to collect a debt, and any information obtained will be used for that purpose. However, if you filed for
         bankruptcy, currently are in bankruptcy or received a discharge in bankruptcy, this communication is not an attempt to collect a debt, but is instead a
         legally required notice regarding your escrowed taxes and insurance.


         Private Mortgage Insurance Disclosure
         Private Mortgage Insurance: Your mortgage loan requires private mortgage insurance (“PMI”). PMI protects lenders and others against financial
         loss when borrowers default. Charges for the insurance are added to your loan payments. Under certain circumstances, federal law gives you the right
         to cancel PMI or requires that PMI automatically terminate. Cancellation or termination of PMI does not affect any obligation you may have to maintain
         other types of insurance.
         Borrower Requested Cancellation of PMI: Under the Homeowners Protection Act of 1998, if your loan closed on or after July 29, 1999 as a single-family primary
         residence, you have the right to request that PMI be canceled on or after either of these dates: (1) the date the principal balance of your loan is first scheduled to
         reach 80 percent of the original value of the property or (2) the date the principal balance actually reaches 80 percent of the original value of the property. PMI will only
         be canceled on these dates if (1) you submit a written request for cancellation; (2) you have a good payment history; and (3) we receive, if requested and at your
         expense, evidence that the value of the property has not declined below its original value and certification that there are no subordinate liens on the property. A “good
         payment history” means no payments 60 or more days past due within two years and no payments 30 or more days past due within one year of the cancellation date.
         “Original value” means the lesser of the contract sales price of the property or the appraised value of the property at the time the loan was closed.
         Automatic Termination of PMI: Under the Homeowners Protection Act of 1998, if your loan closed on or after July 29, 1999 as a single-family primary residence
         and if you are current on your loan payments, PMI will automatically terminate on the date the principal balance of your loan is first scheduled to reach 78 percent of
         the original value of the property. If you are not current on your loan payments as of that date, PMI will automatically terminate when you thereafter become current on
         your payments. In any event, PMI will not be required on your mortgage loan beyond the date that is the midpoint of the amortization period for the loan if you are
         current on your payments on that date. If your loan closed before July 29, 1999 or if it is not a single-family primary residence or second home: The conditions for
         canceling mortgage insurance for mortgages closed before July 29, 1999 are not statutory under federal law, they may be changed at any time (unless otherwise
         required by state law). To determine if you can cancel the PMI on your loan or for further information about PMI cancellation, contact us at P.O. Box 8068, Virginia
         Beach, Virginia 23450 or call 1.800.509.0183.




                                                                                Internet Reprint
                                                                                                                                   x37448.00
                                    REPRESENTATION OF PRINTED DOCUMENT                  7-754-05150-0000049-001-000-001-000-000

Case 6:23-bk-14028-SY            Doc     Filed 05/24/24 Entered 05/24/24 09:51:09                                      Desc Main
                                        Document     Page 6 of 10



                                                                 3637 Sentara Way | Virginia Beach, VA 23452


            Understanding Your Escrow Changes                                    FREQUENTLY ASKED QUESTIONS

   Over the past few years, we’ve worked to simplify our escrow                I thought I had a fixed rate. Why did
   statement. Now, understanding your escrow information is                    my payment change?
   even easier. In this letter, we’re breaking down your
   statement even further to explain the changes in your escrow                Your mortgage payment is made up of
   account information.                                                        two parts: your loan payment (principal
                                                                               and interest) and your escrow payment
          Read ahead to see your escrow payment breakdown                      (taxes and insurance). Your loan
          and your projected disbursements                                     payment does not increase or decrease
          Get answers to some of our most frequently asked                     unless you have an adjustable rate
                                                                               mortgage (ARM). The portion of your
          questions about escrow accounts
                                                                               monthly mortgage payment that goes
          See how to view your escrow information online                       toward escrows (taxes, homeowners
                                                                               and/or mortgage insurance) will change
                                                                               based on your projected amounts due to
   Your Payment Information                                                    be paid.
   Your current total monthly mortgage payment is $2,173.93.                            Your Mortgage Payment
   Your total amount due will change by $25.33. Your new total
   monthly payment will be $2,199.26, effective 07/01/2024.
   Your Escrow Shortage
   Your projected escrow account balance as of 06/30/24 is                                   Your Loan Payment
   $-314.15. Your required beginning escrow balance according
   to this analysis should be $2,084.75. This means you have a
   shortage of $92.35.
                                                                                           Your Escrow Payment*
          A surplus or shortage in your escrow account
          commonly occurs when:
     >   The projected amount at closing increases or decreases
     >   Your property taxes increase or decrease
     >   Your homeowners insurance increases or decreases
                                                                               * Your escrow payment may consist of the items in
     >   You change your homeowners insurance company                          the three categories shown in gray.
     >   We pay delinquent taxes on your behalf
                                                                               Please note: this chart is provided for
   If you have questions about an increase in your property taxes or           demonstration purposes only and is not intended
   insurance premiums, please contact your local taxing authority or           to represent the specific amount you have in each
   insurance agent.                                                            category.

   Your shortage of $92.35 will be divided into 12 installments of             Why is there extra money in my
   $7.70 and added to your monthly payment. Your new monthly                   escrow account?
   payment will be $2,199.26, effective 07/01/2024.
                                                                               Your escrow account makes sure you
   If you choose to pay your shortage in full, please detach the               have money set aside to pay the
   stub at the bottom of your analysis statement, enclose it with              necessary taxes and insurance.
   your check and mail them to:
   Attn: Customer Service                                                      A certain amount of the funds in your
                                                                               escrow account are designated to help
   P.O. Box 8068
                                                                               keep your account from going negative.
   Virginia Beach, VA 23450
                                                                               We call that an escrow cushion.

   Please write your loan number on the Memo line of the check.                Think of your cushion as overdraft
                                                                               protection for your escrow account. Your
   Once we receive your payment and apply it to your loan, your                cushion is designed to help offset any
   payment will be adjusted.                                                   small changes in your tax and/or
                                                                               insurance bills. This helps lessen the
                                                                               burden of an escrow shortage when your
                                                                               escrow analysis is completed. Cushions
                                                                               typically cannot be waived or removed.


                            Customer Service: 1.800.509.0183 Collections: 1.800.509.0183
                                     https://lakeviewloanservicing.myloancare.com
                           Monday - Friday: 8 A.M. to 9 P.M. ET Saturday: 8 A.M. to 3 P.M. ET
                                       P.O. Box 8068 | Virginia Beach, VA 23450

    Escrow Page 4                                                                                                     0027695055

                                                     Internet Reprint
                                                                                                                           x37448.00



Case 6:23-bk-14028-SY           Doc     Filed 05/24/24 Entered 05/24/24 09:51:09                              Desc Main
                                       Document     Page 7 of 10



                                                                3637 Sentara Way | Virginia Beach, VA 23452


    Even if you choose to pay your shortage in full, the amount of            How can I lower my escrow?
    your payment may still change. Your escrow collections over
    the next 12 months may be increased to ensure enough                      You may seek additional insurance
    funds are collected to pay your future taxes and insurance.               quotes while maintaining the required
                                                                              coverage. You may contact your
    Please review the Account Projections section of your Annual
                                                                              taxing authorities and ensure that you
    Escrow Account Disclosure Statement to confirm the
                                                                              have taken advantage of all applicable
    disbursement amounts of the escrowed items. If you find                   exemptions. If you are able to reduce
    errors in this information, please confirm the disbursement               the cost of your insurance and/or are
    amounts with your local taxing authority or insurance carrier             approved for an exemption, please
    and contact us to report any discrepancies.                               make sure to provide us updated
                                                                              information.
    Check Your Information Online
    Visit https://lakeviewloanservicing.myloancare.com to:
                                                                              Can I prepay my escrow so that my
       >   View your current escrow account balance                           payments don’t change?
       >   View your payment information
       >   View your estimated tax disbursement amounts                       No. You are required to pay 1/12th of
       >   View your insurance premiums                                       each escrowed item monthly with your
       >   Enroll for email notifications when escrow                         principal and interest payment.
           disbursements are made

    If You Need Assistance
            Our representatives are ready to assist you should you
            need further information or have additional questions
            or concerns. Call 1.800.509.0183 Monday - Friday: 8
            A.M. to 9 P.M. ET Saturday: 8 A.M. to 3 P.M. ET.
    Sincerely,
    Escrow Department
    LoanCare, LLC
    NMLS ID 2916
    This summary is not a substitute for the Annual Escrow
    Account Disclosure Statement and it is important that you still
    review the enclosed Annual Escrow Account Disclosure
    Statement in its entirety.
    TO THE EXTENT THE FAIR DEBT COLLECTION
    PRACTICES ACT (FDCPA) AND/OR STATE DEBT
    COLLECTION LAWS ARE APPLICABLE, PLEASE BE
    ADVISED THAT THIS COMMUNICATION IS FROM A DEBT
    COLLECTOR AND ANY INFORMATION OBTAINED WILL
    BE USED FOR THAT PURPOSE.
    TO THE EXTENT YOUR OBLIGATION HAS BEEN
    DISCHARGED IN BANKRUPTCY, IS SUBJECT TO THE
    AUTOMATIC STAY OR IS PROVIDED FOR IN A
    CONFIRMED PLAN, THIS COMMUNICATION IS FOR
    INFORMATIONAL PURPOSES ONLY, AND DOES NOT
    CONSTITUTE A DEMAND FOR PAYMENT OR AN
    ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR SUCH
    OBLIGATION.




                           Customer Service: 1.800.509.0183 Collections: 1.800.509.0183
                                    https://lakeviewloanservicing.myloancare.com
                          Monday - Friday: 8 A.M. to 9 P.M. ET Saturday: 8 A.M. to 3 P.M. ET
                                      P.O. Box 8068 | Virginia Beach, VA 23450

    Escrow Page 5                                                                                             0027695055
                                REPRESENTATION OF PRINTED DOCUMENT                      7-754-05150-0000049-001-000-001-000-000
                                                                                                                        SP0657-00A
      Case 6:23-bk-14028-SY             Doc     Filed 05/24/24 Entered 05/24/24 09:51:09                 Desc Main
                                               Document     Page 8 of 10

     A GUIDE TO YOUR ANNUAL ESCROW STATEMENT

Understanding Your Statement                                    n The
                                                                  Annual Escrow Account Disclosure Statement
                                                                      Annual Escrow Account Disclosure Statement
Your business is important to us and so is your satisfaction.       section includes your loan number, the review period
We know that understanding your Annual Escrow Account               and the escrow surplus/shortage.
Disclosure Statement can be overwhelming. We have                   •   Loan Number – Unique primary identifier that is specific
created this guide to help you.                                         to your loan.
                                                                    •   Review Period – Time frame for activity displayed in
Please take the time to review this thoroughly.                         the statement.
                                                                    •   Escrow Surplus/Shortage – If your projected escrow
                                                                        account balance is greater than the required beginning
                                                                        escrow balance, you have a surplus. If your projected
                                                                        escrow account balance is less that the required
                                                                        beginning escrow balance, you have a shortage.

                                                                o Current Mortgage Payment
                                                                    This section shows your current total monthly
                                                                    payment with a breakdown of principal and/or interest
                                                                    and escrow.

1                                                               p This
                                                                  New Mortgage Payment
                                                                       section displays your new payment amount and
                                                                    the date on which it is due. This includes principal
                                                                    and interest, escrow and additional amounts.




                                                                                                                                     754-4360-0223F
                                                                        Effective Due Date – Date on which your new payment
n
                                                                    x
                                                                        is due.


o
p                                                               qThis
                                                                 Account History
                                                                      section displays a breakdown of your account
                                                                    history for the review period that includes the following

q                                                                   sections:
                                                                    •
                                                                    •
                                                                        Month – The month for which activity is displayed.
                                                                        Activity – A description of the projected and/or actual
                                                                        amount(s).
                                                                    •   Projected Amount: Deposit – 1/12 of the anticipated
                                                                        annual escrow disbursement as of the last analysis you
                                                                        received. This is what we expected you to pay into your
                                                                        escrow account each month.
                                                                    •   Projected Amount: Disbursement – The amounts we
                                                                        expected to disburse on your behalf to various tax and
                                                                        insurance entities.
                                                                    •   Actual Amount: Deposit – The actual amount we
                                                                        received from you and deposited into your escrow
                                                                        account.
                                                                    •   Actual Amount: Disbursement – The amounts we
                                                                        actually disbursed on your behalf to various tax and
                                                                        insurance entities.
                                                                    •   Projected Escrow Balance – The escrow balance we
                                                                        expected your account to show at the end of each
                                                                        month, based on the projected payments and projected
                                                                        disbursements.
                                                                    •   Actual Escrow Balance – The balance in your escrow
                                                                        account at the end of each month, based on the actual
                                                                        payments and disbursements that occurred during the
                                                                        period.
        Case 6:23-bk-14028-SY               Doc     Filed 05/24/24 Entered 05/24/24 09:51:09   Desc Main
                                                   Document     Page 9 of 10

    A GUIDE TO YOUR ANNUAL ESCROW STATEMENT

r This
  Total Anticipated Annual Disbursement
       section displays your tax and insurance
    disbursements. The total anticipated annual
    disbursement is the sum of all the tax and
    insurance payments.

sThis
 Account Projections
      section displays a breakdown of your account
    projections for the review period that includes:

    •    Month – The month for which activity is displayed.
    •    Projected Payments – 1/12 of the anticipated annual
         escrow disbursement as of the last analysis you
                                                                   r
         received. This is what we expected you to pay into your
         escrow account each month.
    •    Disbursements – The amounts we expected to
         disburse on your behalf to various tax and insurance

    •
         entities.
         Projected Escrow – The escrow balance we expected
                                                                   s
         your account to show at the end of each month,
         based on the projected payments and projected
         disbursements.
    •    Required Escrow – The balance in your escrow
         account at the end of each month, based on the




                                                                                                           754-4361-0223B
         actual payments and disbursements that occurred
         during the period.


    Contact Us
    I f you have any questions, please call us or visit us
    online by referencing the information provided on
    your Annual Escrow Account Disclosure Statement.


    Written notices of error or information requests
    should be sent to:

    ATTN: The Office of the Customer
    P.O. Box 8068
    Virginia Beach, VA 23450

    Business Hours
    Monday – Friday, 8 A.M. to  P.M. ET
    Saturday, 8 A.M. to 3 P.M. ET
        Case 6:23-bk-14028-SY                   Doc      Filed 05/24/24 Entered 05/24/24 09:51:09                                Desc Main
                                                       Document     Page 10 of 10



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                         30 Corporate Park, Suite 450, Irvine, CA 92606

A true and correct copy of the foregoing document entitled (specify): NOTICE OF MORTGAGE PAYMENT
CHANGE                will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
___05/24/2024____________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:


Benjamin Heston, Counsel for Debtor                                                        bhestonecf@gmail.com
Rod Danielson, Chapter 13 Trustee                                                          notice-efile@rodan13.com
United States Trustee (RS)                                                                 ustpregion16.rs.ecf@usdoj.gov
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) ___05/24/2024____________, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.


Maximo Arturo Arriola
4199 9th Street
Riverside, CA 92501
DEBTOR

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 05/24/2024               Katherine Kellams                                                     /s/ Katherine Kellams
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
